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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION


TEJAS RESEARCH, LLC,

                                  Plaintiff,                Civil Action No. 6:12-cv-00296
                                                                      (Lead Case)
                  v.
                                                                   CONSOLIDATED
VIVID ENTERTAINMENT, LLC, et al.,

                                  Defendants.


                                       ORDER OF DISMISSAL

         CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With Prejudice

of all claims and counterclaims asserted between plaintiff, Tejas Research, LLC, and defendants Playboy

Enterprises, Inc. and Playboy.com, Inc., in this case, and the Court being of the opinion that said motion

should be GRANTED, it is hereby

         ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between plaintiff,

Tejas Research, LLC, and defendants, Playboy Enterprises, Inc. and Playboy.com, Inc., are hereby

dismissed with prejudice, subject to the terms of that certain agreement entitled “SETTLEMENT AND

LICENSE AGREEMENT” and dated February 4, 2013.

         It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that incurred

them.

         So ORDERED and SIGNED this 11th day of February, 2013.




                                  __________________________________
                                  LEONARD DAVIS
                                  UNITED STATES DISTRICT JUDGE


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